Exhibit
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 7
                          UNITED STATES DISTRICT COURT
 8
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
    UNITED STATES OF AMERICA,         Case No. 18cr4683-GPC
10
              Plaintiff,              GOVERNMENT’S RESPONSE AND
11                                    OPPOSITION TO DEFENDANTS’ MOTION
         v.                           FOR BILL OF PARTICULARS
12 JACOB BYCHAK (1),
    MARK MANOOGIAN (2),
13
    MOHAMMED ABDUL QAYYUM (3),
14 PETR PACAS (4)

15              Defendants.

16       COMES NOW the plaintiff, United States of America, by and through

17 its counsel, United States Attorney Robert S. Brewer, Jr. and Assistant

18 U.S. Attorneys Melanie K. Pierson, Robert Ciaffa, and Sabrina L. Fève,

19 and hereby files its Response and Opposition to Defendants’ Motion for

20 Bill of Particulars.       Said Response is based on the files and records

21 of the case.

22

23       DATED:January 18, 2019             Respectfully submitted,

24                                          ROBERT S. BREWER, JR.
                                            United States Attorney
25
                                            /s/Melanie K. Pierson
26
                                            Assistant United States Attorney
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 1                                               I.

 2                                STATEMENT OF THE CASE

 3        On October 31, 2018, a federal grand jury in the Southern District

 4 of California returned a ten-count indictment charging defendants Jacob
 5 Bychak, Mark Manoogian, Mohammed Abdul Qayyum and Petr Pacas, with
 6 Conspiracy, in violation of Title 18, United States Code, Section 371;
 7 four counts of Wire Fraud, in violation of Title 18, United States Code,
 8 Section 1343; five counts of Electronic Mail Fraud, in violation of
 9 Title     18,   United    States      Code,     Section   1037(a)(5),    and    Criminal

10 Forfeiture.      The     charges      related      to   the    defendants’     fraudulent

11 acquisition of Internet Protocol (IP) addresses and the use of the
12 purloined IP addresses to send spam.
13        All defendants appeared for arraignment without being arrested.                 On

14 November 1, 2018, defendants Bychak and Manoogian were arraigned, and
15 entered pleas of not guilty to all charges.                   A hearing on all motions

16 was scheduled for December 7, 2018.                Defendants Qayyum and Pacas were

17 arraigned on November 5, 2018, and also entered pleas of not guilty to
18 all charges. At the joint request of the parties, the motion date was
19 continued to January 25, 2019.
20        On November 21, 2018, the defendants filed a joint motion for a

21 bill of particulars. The United States responds to this motion herein.
22                                               II

23                                    STATEMENT OF FACTS

24        The defendants were employed by Company A, a San Diego firm engaged

25 in the business of digital advertising.                 Defendant Jacob Bychak held,

26 among others, the title of Business Operations Manager. Defendant Mark
27
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 1 Manoogian (who is an attorney) represented himself to be Business
 2 Development Manager, and defendant Mohammed Abdul Qayyum was the
 3 Technical Operations Manager. Defendant Petr Pacas was employed as
 4 Director of Operations. 1
 5           To transmit its flood of digital advertising, Company A required

 6 numerous Internet Protocol (IP) addresses to send its commercial emails.
 7 Company A needed to constantly acquire large groups, or blocks, of IP
 8 addresses (hereafter, “netblocks”) because the IP addresses used to
 9 transmit their email advertising were repeatedly blocked by spam
10 filters.        Jake Bychak and Petr Pacas, on behalf of Company A, acquired

11 a number of cut-rate netblocks from Daniel Dye (charged elsewhere) that
12 had been hijacked from their authorized users.              To use these netblocks

13 to send commercial emails, the defendants provided a fraudulent Letter
14 of Authorization (LOA) -- supposedly from the authorized user -- to the
15 hosting companies and internet service providers (ISPs), indicating that
16 the mailer was authorized by the registrant to use the netblock.                  Mark

17 Manoogian and Abdul Mohammed (with the knowledge and agreement of their
18 co-conspirators) knowingly created and used false LOAs, represented to
19 be from the authorized users, and sent them to the ISPs to allow Company
20 A to use the hijacked netblocks to send commercial email, which earned
21 Company A substantial profits during the period of the conspiracy.
22           Dye introduced the defendants to Vince Tarney (charged elsewhere),

23 who operated his own firm in New Jersey, as a hosting company willing
24 to host risky IP addresses.            Both Dye and Tarney have pled guilty to

25
     1
26    Pacas moved to a related company in San Diego for several years and
     then back to Company A after Company A acquired the related company.
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 1 felony violations of the CAN-SPAM Act (electronic mail fraud), and are
 2 awaiting sentencing.
 3                                         III

 4                                POINTS AND AUTHORITIES

 5        A.    A Bill of Particulars Is Not Warranted in This Case

 6        Rule 7(f) of the Federal Rules of Criminal Procedure governs a bill

 7 of particulars. A bill of particulars has three functions: (1) to inform
 8 the defendant of the nature of the charge with sufficient precision to
 9 allow him to prepare for trial, (2) to avoid or minimize the danger of
10 surprise at the time of trial, and (3) to enable to defendant to avoid
11 double jeopardy when the indictment itself is too vague. United States
12 v. Giese, 597 F. 2d 1170, 1180 (9th Cir. 1979). These purposes are served
13 if the indictment provides sufficient details of the charges and if the
14 Government provides full discovery to the defense.             United States v.

15 Mitchell, 744 F.2d 701, 705 (9th Cir. 1984). Rule 7(f) is not intended
16 to serve as a vehicle for obtaining discovery form the government.
17 United States v. Grace, 401 F. Supp. 2d 1103, 1106 (D. Mont. 2005),
18 citing Cooper v. United States, 282 F. 2d 527, 532 (9th Cir. 1960). The
19 Rule should not be invoked to “force the Government to spread its entire
20 case before the accused.” Id. ”The defendant’s Constitutional right is
21 to know the offense with which he is charged, not to know the details
22 of how it will be proved.” United States v. Kendall, 665 F. 2d 126, 135
23 (9th Cir. 1981).      Rather, all that is required is that the defendant be

24 sufficiently informed of the government’s theory of the case. Yeargain
25 v. United States, 314 F. 2d 881,882 (9th Cir. 1963).
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 1        A bill of particulars is not a matter of right.            United States v.

 2 Burgin, 61 F.2d 1352, 1358 (5th Cir.1980).            So long as the Government

 3 provides the defense with a detailed indictment and a “significant amount
 4 of discovery,” no bill of particulars is warranted.               United States v.

 5 Ayers, 924 F.2d 1468, 1483 (9th Cir. 1991).             “Full discovery obviates

 6 the need for a bill of particulars.” United States v. Giese, 594 F.2d
 7 1170, 1180 (9th Cir.1979).            “Even if an indictment is vague, a bill of

 8 particulars is not necessary if the government’s disclosures and
 9 discovery adequately advise the defendant of the charges against him.”
10 United States v. Middleton, 35 F. Supp. 2d 1189, 1193 (N.D. Cal. 1999).
11        B.    The Indictment Is Sufficiently Precise to Inform Defendants

12              of the Charges and to Protect them from Double Jeopardy.

13        The Indictment in this case charges three separate offenses: 1)

14 conspiracy to commit wire fraud and electronic mail fraud (18 U.S.C. §
15 371); 2) wire fraud (18 U.S.C. § 1343); and 3) electronic mail fraud (18
16 U.S.C. § 1037).        All three offenses stem from the defendant’s false

17 representations that they were the registrant, or the legitimate
18 successor in interest to the registrant, of various IP netblocks, and
19 their subsequent use of these netblocks to send commercial electronic
20 mail messages, commonly known as spam. These allegations are detailed
21 in paragraph two of the Indictment, which identifies the conspiracy’s
22 “Manner and Means,” 2 and in paragraphs five through eight, which describe
23   2 Paragraph two reads “The objects of the conspiracy were to be accomplished, in

     substance, as follows:
24
          a. Members of the conspiracy would identify or pay to identify blocks of
25           Internet Protocol (IP) addresses called “netblocks” that were
             registered to others and appeared to be inactive.
26
          b. Members of the conspiracy would create and send letters to Internet
27           hosting companies fraudulently stating the letter bearer had been
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 1 the scheme to defraud. 3              In addition, Counts Six through Ten of the

 2 Indictment specify, by numerical identity and associated domain name,
 3 the IP addresses alleged to have been involved in the substantive
 4 offenses. This information is adequate to advise the defendants of the
 5 nature of the charges they face, to minimize or avoid surprises at trial,
 6 and to avoid double jeopardy in future cases.                  Accordingly, no bill of

 7 particulars is warranted. United States v. Giese, 597 F. 2d 1170, 1180
 8 (9th Cir. 1979).
 9            C.      Full Discovery and the Government’s Disclosures Further

10                    Obviate the Need for a Bill of Particulars.

11            The Government has already produced two discs of discovery, has

12 loaded loading near a million pages of additional evidence onto hard
13 drives for the defense.              The first disc, produced on November 4, 2018,

14
                   authorized by the registrants of the inactive IP addresses to use the
15                 IP addresses.

16            c. Members of the conspiracy would use the fraudulently acquired IP
                 addresses to send commercial email (“spam”) messages.”
17
     3
         Paragraphs five through eight read:
18
              5. It was a part of the scheme and artifice to defraud that the defendants
19               searched for IP addresses registered to third parties that appeared to
                 be inactive.
20
              6. It was a further part of the scheme and artifice to defraud that the
                 defendants created and sent letters to Internet hosting companies
21               fraudulently making it appear that the registrant of the IP addresses
                 had authorized the defendants’ use of the IP addresses.
22
              7. It was a further part of the scheme and artifice to defraud that the
23               defendants used the IP addresses to send commercial email messages
                 knowing they did not obtain control of the IP addresses from the true
24               registrant or the legitimate successor in interest.

25            8. It was a further part of the scheme and artifice to defraud that the
                 defendants concealed their use of the IP addresses to send “spam”
26               emails by using business names, post office boxes, and email addresses
                 under different names.
27
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 1 contained 888 pages consisting of the 257 grand jury exhibits, which are
 2 the primary documents the United States will use to prove its case-in-
 3 chief, together with an index.            The second disc, produced on December

 4 4, 2018, also with an index, contained approximately 850 pages consisting
 5 of approximately 180 reports generated by the FBI in the course of the
 6 investigation.
 7        The   Government    has   also    loaded      approximately     one   terabyte   of

 8 evidence onto hard drives for the defense, which was made available the
 9 week of January 14, 2019. The hard drives include the evidence obtained
10 by the United States from all search warrants and subpoenas issued in
11 the course of the investigation, and also includes an index.
12        In addition to providing full discovery, Government counsel met at

13 length with counsel for each of the defendants and explained the
14 Government’s theory of the case against each of their clients, and showed
15 counsel evidence that the Government intends to use to prove its case.
16 These disclosures further obviate the need for a bill of particulars.
17 United States v. Giese, 597 F. 2d 1170, 1180 (9th Cir. 1979).
18        D.    The Particulars Requested Are Already in the Possession of the

19              Defense.

20        Because    full   discovery      has   been   provided,   the    defendants      are

21 already in possession of the particulars they are requesting.                       Their

22 additional requests will be addressed individually below.
23              1.    IP addresses and Netblocks Obtained and Used Illegally

24        Counts Six through Ten of the Indictment specify, numerically and

25 by associated domain name, the IP addresses and netblocks that are the
26 subject of the substantive counts. In addition, the Government intends
27
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 1 to present evidence of other IP addresses to support the conspiracy
 2 charged in Count 1.          The first disc of discovery, provided to the

 3 defendants on November 4, 2018, contains 888 pages consisting of the 257
 4 grand jury exhibits, which, as mentioned above, are the primary documents
 5 the United States will use to prove its case-in-chief.                          Grand Jury

 6 Exhibit 251 identifies, numerically and by associated domain names, the
 7 eleven IP netblocks that the Government alleges were illegally hijacked
 8 by the defendants, providing the defense with the particular they
 9 request.
10              2.    All False Statements and Letters to Hosting Companies

11        The grand jury exhibits provided to the defense on November 4,

12 2018, are roughly organized by IP netblock and group the evidence
13 relating to each particular netblock together. The grand jury exhibits
14 provide copies of all of the Letters of Authority (LOAs) located by the
15 Government to date related to the eleven netblocks specified in Grand
16 Jury Exhibit 251, and emails related to their origin and use. These LOAs
17 form the basis for the false statements and fraudulent submissions
18 alleged in the Indictment. The discovery provided on the hard drives,
19 in addition to the Grand Jury exhibits, contains numerous copies of
20 these same LOAs, which were transmitted among the co-conspirators. The
21 discovery has been provided in a format that can be searched by keywords,
22 allowing     the   defense    to      easily       locate   all   copies   of   the   LOAs.

23 Accordingly, the defense has been provided with the particular it
24 requests.
25
26
27
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 1              3.    All Spam Emails and Multiple Commercial Email Messages

 2        The defense seeks particulars regarding the individual emails that

 3 will be used to prove that the defendants sent multiple commercial email
 4 messages using the netblocks at issue.           Once again, the defendants are

 5 already in possession of this information in the discovery they were
 6 provided on November 4, 2018.           Along with the information about each

 7 netblock, among the grand jury exhibits the United States provided
 8 internal      tracking    records     obtained   from   the   defendants,     called

 9 “Blackmail Reports.”         These reports tracked, on a daily basis, the

10 various commercial emails sent by the defendants. The reports specified
11 the commercial email campaign sent by netblock, and the exact number of
12 emails sent each day for that campaign by the each IP address.                   The

13 reports indicate that the defendants often sent as many as 81 million
14 commercial emails per day using the netblocks at issue. Because of the
15 huge numbers of emails involved, it is unreasonable to request that the
16 Government identify each individual email, since the commercial nature
17 and number of the emails sent using each IP address (the elements that
18 the Government must prove at trial) are shown by the Blackmail Reports.
19 Accordingly, the defense has been provided with the particular it
20 requests.
21              4.    All Business Names Used to Conceal Identity

22        The defense requests particulars regarding business names, post

23 office boxes, and email addresses used by the defendants to conceal
24 their identity as the senders of the spam as issue, which are alleged
25 as part of the scheme to defraud in the wire fraud counts. During the
26 course of the conspiracy, the defendants utilized hundreds of DBAs, post
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 1 office boxes, and thousands of domain names to conceal their identity
 2 as the senders of spam. Each time a spamwatch organization or ISP would
 3 question or block delivery of their emails, the defendants would change
 4 the names of the domain sending the emails, the IP addresses used, and
 5 create new DBAs and email address to control these new domain names.
 6 This occurred on a regular (sometimes weekly) basis. The data identifying
 7 the business names, domain names, and post office boxes is available in
 8 the discovery provided.           It can be found in the responses to subpoenas

 9 issued to the issuers of the DBAs, domain names, and post office boxes
10 (whose identities are well known to the defendants). Accordingly, the
11 defense has been provided with the particular it requests.
12                  5.   Amount of Proceeds Alleged.

13            The defense seeks particulars regarding the derivation of funds

14 warranting forfeiture, the amount of funds generated by the illegal
15 conduct, and the properties subject to forfeiture.                   The particulars

16 sought by the defense are contrary to the plain language of Rule 32.2(a)
17 of the Federal Rules of Criminal Procedure, 4 which states that, “The
18 indictment or information need not identify the property subject to
19 forfeiture or specify the amount of any money judgement that that the
20 government seeks.” As a practical matter, the discovery provided on the
21 hard drives contains the internal financial records of the company that
22 establish the amount of money earned by the defendant’s employer
23 utilizing the hijacked netblocks.             Accordingly, although they are not

24
25
26   4
      The case relied upon by the defense, United States v. Vasquez-Ruiz, 136 F. Supp.2d
     941 (N.D. Ill.2001) cites Rule 7(c)(2) of the Federal Rules of Criminal Procedure.
27   This Rule was superseded by Rule 32.2(a) in 2002 Amendments to the Federal Rules.
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 1 entitled to such particulars, the defense is in possession of the
 2 information sought.
 3                                       III

 4                                   CONCLUSION

 5        On the basis of the foregoing, the Government respectfully requests

 6 that Defendants’ Motion for Bill of Particulars be denied.
 7
 8        DATED:      January 18, 2019              Respectfully submitted,

 9                                                  ROBERT S. BREWER, JR.
                                                    United States Attorney
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11
                                                    /s/ Melanie K. Pierson
12                                                  MELANE K. PIERSON
                                                    Assistant U.S. Attorney
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                              UNITED STATES DISTRICT COURT
 1
                            SOUTHERN DISTRICT OF CALIFORNIA
 2
 3
     UNITED STATES OF AMERICA,           )         Case No. 18-CR46836-GPC
 4                                       )
                      Plaintiff,         )
 5                                       )
                v.                       )
 6                                       )         CERTIFICATE OF SERVICE
 7                                       )
   JACOB BYCHAK (1),                     )
 8 MARK MANOOGIAN (2),                   )
   MOHAMMED ABDUL QAYYUM (3),            )
 9 PETR PACAS (4),                       )
                                         )
10                    Defendants.        )
11                                       )

12 IT IS HEREBY CERTIFIED THAT:
13      I, MELANIE K. PIERSON, am a citizen of the United States and am
   at least eighteen years of age. My business address is 880 Front
14 Street, Room 6293, San Diego, California 92101-8893.
15
        I am not a party to the above-entitled action. I have caused
16 service of the Government’s Response and Opposition to Defendant’s
   Motion for Bill of Particulars on the opposing party by electronically
17 filing the foregoing with the Clerk of the District Court using its
   ECF System, which electronically notifies them.
18
19      I declare under penalty of perjury that the foregoing is true and
20 correct.

21        Executed on January 18, 2019.

22                                       s/ Melanie K. Pierson
                                         MELANIE K. PIERSON
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